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AO 93 (Rev. 11/13) Search and Seizure Warrant (page 2)


                                                                    Return

Case No.:                                Date and time warrant executed:          Copy of warrant and inventory left with:
                                                                                                    NA
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:

                                                                                 WtArflA0\        {{~~fv\       VV\(A~{r\C,d

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                                                                 Certification


         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:     \ ~   I~~I'}_
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